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                     IN THE UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF ARKANSAS
                               WESTERN DIVISION

UNITED STATES OF AMERICA                                                    PLAINTIFF

Vs                                      CASE NO. 4:06cr00297-02

ROBIN NELSON-FLANAGAN                                                     DEFENDANT

                                       ORDER

      The Court has determined that Defendant Robin Nelson-Flanagan is in need of

immediate in-patient drug treatment at an approved facility. She must enter the Recovery

Centers of Arkansas in-patient treatment program as soon as an opening is available.

      IT IS SO ORDERED, THIS 28th day of August, 2006.


                                               ________________________________
                                               UNITED STATES MAGISTRATE JUDGE
